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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA                                                                      MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                                   SECTION “N-5"

                                                                       JUDGE ENGELHARDT

                                                                       MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Catherine Mayes and James W. Mayes, et al
v Frontier RV, Inc., et al., Case No. 2:10-cv-480

______________________________________________________________________________

                            RULE 7.6 CERTIFICATE
______________________________________________________________________________

       Pursuant to Local Rule 7.6, undersigned counsel for Plaintiff certifies that David Kurtz,

liaison counsel for the Contractor Defendants, Randall Mulcahy, counsel for the Manufacturing

Defendant, and Henry T. Miller, counsel for the United States Department of Justice, have been

contacted and state that they are not opposed to Plaintiffs’ Second Motion for Extension of Time

to Serve the Defendants.

       Respectfully submitted, this the 21 day of June, 2010.



                                                    By:             s / Rose M. Hurder
                                                                    Rose M. Hurder

OF COUNSEL:

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2010 I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who are CM/ECF participants. I further certify that I mailed the foregoing document and

the notice of electronic filing by first class mail to all counsel of record who are non-CM/ECF

participants.



                                                                     s / Rose M. Hurder
                                                                     ROSE M. HURDER




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